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IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT
OF PENNSYLVANIA

 

CS.,
Plaintiff
CIVIL ACTION NO. 4:12-CV-01013

VS.

SOUTHERN COLUMBIA AREA
SCHOOL DISTRICT

and

JAMES A. BECKER
Defendants}

 

STIPULATION TO DISMISS PURSUANT TO F.R.C.P. 41(ay(1)(A)Gi)
IT IS HEREBY STIPULATED AND AGREED by and between the parties

and/or their respective counsel that the above-captioned action is voluntarily

dismissed with prejudice pursuant to Federal Rule of Civil Procedure

 
  
 

 
  
      
   
  

 
 

 

 

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Date:. a Mf (| Date: 2u-Wy

 

 
